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                           UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF
                             ILLINOIS EASTERN DIVISION

 KI CHUL SEONG, an individual, and
 OPEC ENGINEERING CO., LTD., a
 Korean Corporation

 Plaintiffs

              v.
                                                  CASE NO.: 18 CV 396
 BEDRA, INC., an International Foreign
 Corporation Registered to do Business
 in Paramus, New Jersey;
 ALTERNATIVE MACHINE TOOLS,
 LLC., a Wisconsin Corporation; EDM
 PERFORMANCE ACCESSORIES, a
 California Corporation; NINGBO
 BODE HIGH-TECH CO., LTD., a
 Chinese Corporation; and DOES 1
 through 10, inclusive,

        Defendants



                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on January 31, 2018 at 9:30 a.m., I shall appear before the

Honorable Judge Manish Shah, or any judge sitting in his stead, in courtroom 1919 of the United

States District Court for the Northern District of Illinois, 219 South Dearborn Street, Chicago,

Illinois, 60604, and present the attached Plaintiffs’ Motion to Transfer to Judge Manish Shah

a copy of which is hereby served upon you.
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                                        By: /s/ Samuel S. Bae___

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     Case: 1:18-cv-00396 Document #: 9 Filed: 01/26/18 Page 3 of 3 PageID #:108



                                CERTIFICATE OF SERVICE

        I certify that the foregoing was electronically filed and served via this court’s ECF system
on this 26th day of January 2018.


                                                     By: /s/ Samuel S. Bae___

                                                     Samuel S. Bae (ARDC - 6257863)
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